Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 1 of 32 Page ID #:38




       Composite
       Exhibit A to
       Complaint
      Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 2 of 32 Page ID #:39
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Best Buy   Appliances     Refrigerators    All Refrigerators                                                                                                                 Share     Print

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                        Be sure your new refrigerator its.                                             $2,599.99                           Or
                                                                                                                                                $144.45/mo.*
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                        Let's Get Measuring                                                                                                     18-Month Financing
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                                                                                                                   15-DAY SATISFACTION GUARANTEE
                                                                                                                   Our trained agents are available to help 7 days a week to help support
Samsung                                                                                                            your purchase. Learn more >
Samsung - 22.5 cu. ft. Counter Depth French Door Fingerprint
                                                                                                       No rebates available in 33101
Resistant Refrigerator with CoolSelect Pantry - Black stainless
steel
Model: RF23HCEDBSG SKU: 6201015                                                                         Counter Depth:

              4.2 (771 Reviews)       86 Answered Questions                                                  Yes


                                                                                                        Standardized Width:

                                                                                                             36"


                                                                                                        Color: Black stainless steel




                                                                                                         $2,599.99




                                                                                                                   Protect your major appliance
                                                                                                                                 (1,422)



                                                                                                                                                                                   $299.99
                                                                                                                   3-Year Standard Geek Squad Protection
                                                                                                                                                                            About $8.33/mo.

                                                                                                                                                                                   $599.99
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                                                                                                                   Learn more




                                                                                                       You might also need


                                                                                                                              Water Filter for Select Samsung
                                                                                                                                                                                    $49.99
                                                                                                                              Refrigerators - White




                                                                                                       Unavailable
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                                                                                                                                                                                  Help
                                                                                                              Estimates for 33101
       Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 3 of 32 Page ID #:40

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                                                                                   Cardmember Oﬀers
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Key Specs                                See All Speci ications ›


Product Height                           70 inches

Product Width                            35 4/5 inches
                                                                                                                                               1:36

Height To Top Of Refrigerator (Without                                                                          Refrigerator: Measure Twice, Deliver
                                         68 7/8 inches                                           70"
Hinges)                                                                                                         Once


Height To Top Of Door Hinge              70 inches

Depth Without Handle                     28 1/2 inches

Depth With Handle                        31 inches                  31"

Total Capacity                           22.5 cubic feet                     35 4/5"
                                                                                                                Delivery & Installation Requirements
                                                                          (Doors closed)
Refrigerator Style                       French Door

Ice Maker                                Yes

Lighting Type                            LED

App Compatible                           No

Works With                               SmartThings

Color Finish                             Black stainless steel




                                                                                                                                             Help

  People also viewed (15 Items)
     Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 4 of 32 Page ID #:41

                 Samsung - 24.6 Cu. Ft.                         Samsung - 26 cu. ft. 3-                           Samsung - Family Hub 27.7
                 French Door Fingerprint                        Door French Door                                  Cu. Ft. 4-Door French
                 Resistant Refrigerator -…                      Refrigerator with…                                Door…
                            (4,341)                                          (495)                                           (171)

                 $2,099.99                                      $2,399.99                                         Clearance:
                                                                                                                  $1,799.99
                    Compare                                         Compare
                                                                                                                     Compare




Overview


Speci ications

Key Specs                   Product Height                                                70 inches


                            Product Width                                                 35 4/5 inches


                            Height To Top Of Refrigerator (Without Hinges)                68 7/8 inches


                            Height To Top Of Door Hinge                                   70 inches


                            Depth Without Handle                                          28 1/2 inches


                            Depth With Handle                                             31 inches


                            Total Capacity                                                22.5 cubic feet


                            Refrigerator Style                                            French Door


                            Ice Maker                                                     Yes


                            Lighting Type                                                 LED


                            App Compatible                                                No


                            Works With                                                    SmartThings


                            Color Finish                                                  Black stainless steel




General                     Product Name                                                  22.5 cu. ft. Counter Depth French Door Fingerprint Resistant
                                                                                          Refrigerator with CoolSelect Pantry


                            Brand                                                         Samsung


                            Model Number                                                  RF23HCEDBSG


                            Color                                                         Black stainless steel


                            Color Category                                                Black


                            Color Finish                                                  Black stainless steel




Dimension                   Product Height                                                70 inches
                                                                                                                                              Help

                            Product Width                                                 35 4/5 inches
      Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 5 of 32 Page ID #:42

                        Product Depth                                    31 inches


                        Height To Top Of Refrigerator (Without Hinges)   68 7/8 inches


                        Height To Top Of Door Hinge                      70 inches


                        Standardized Width                               36 inches


                        Counter Depth                                    Yes


                        Depth Without Handle                             28 1/2 inches


                        Depth With Handle                                31 inches


                        Depth Without Door                               24 inches


                        Depth With Door 90 Degrees Open                  44 inches


                        Product Weight                                   298 pounds




Capacity                Total Capacity                                   22.5 cubic feet


                        Refrigerator Capacity                            15.7 cubic feet


                        Freezer Capacity                                 6.8 cubic feet




Features                Con iguration                                    Freestanding


                        Panel Ready                                      No


                        Refrigerator Style                               French Door


                        Fingerprint Resistant                            Yes


                        Ice Maker                                        Yes


                        Door-Open Alarm                                  Yes


                        Temperature Control Type                         Digital


                        Defrost Type                                     Automatic


                        Lighting Type                                    LED


                        Wireless Connectivity                            Wi-Fi




Ice & Water Dispenser   Ice and Water Dispenser                          Ice and water




Storage                 Number Of Doors/Drawers                          3


                        Number Of Fixed Shelves                          5


                        Quick Access Door                                No


                        Gallon Door Storage                              Yes


                        Humidity-Controlled Crisper                      Yes
                                                                                           Help

                        Spill-Safe Shelves                               Yes
        Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 6 of 32 Page ID #:43
                              Refrigerator Shelf Material        Tempered Glass




Freezer Info                  Freezer Compartment                Yes


                              Freezer Location                   Bottom


                              Freezer Door Type                  Pull Out Drawer


                              Freezer Interior Light             Yes


                              Daily Ice Production               5.2 pounds


                              Ice Tray Included                  Yes




Filter Info                   Water Filtration                   Yes


                              Water Filter Model Number          HAF-CIN




Electrical Speci ication      Estimated Annual Electricity Use   699 kilowatt hours


                              Estimated Annual Operating Cost    84 United States dollars




Certi ications Listings &     ENERGY STAR Certi ied              Yes

Approvals


Warranty                      Manufacturer's Warranty - Parts    1 Year


                              Manufacturer's Warranty - Labor    1 Year




Compatibility                 Works With                         SmartThings




Other                         UPC                                887276265025




Reviews               (771)




Questions & Answers


From the Manufacturer

 Product Features




                                                                                            Help
        Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 7 of 32 Page ID #:44
Counter Depth                                          Twin Cooling Plus™                                      CoolSelect Pantry™
Get more workspace while enhancing your                The Twin Cooling Plus™ feature maintains both           The CoolSelect Pantry™ provides optimal
kitchen's look with our counter-depth refrigerator     high levels of refrigerator humidity to keep            temperature control for your food storage needs
design. Its sleek, built-in style blends in with the   perishable fruits and vegetables fresher longer,        with Deli, Fresh and chilled options. Great for
cabinetry, adding function and style to your           and dry freezer conditions means less freezer           safely defrosting items within a controlled space.
kitchen.                                               burn for better tasting frozen foods.




Ice Master                                             High-Efficiency LED                                     Adjustable Shelves
Our refrigerator’s Ice Master produces up to           LED lighting beautifully brightens virtually every      Designed to fit taller items with ease, you can use
5.2lbs. of ice per day and stores up to 2.7lbs. of     corner of your refrigerator so you’re able to quickly   this three-way shelf for all your storage needs.
ice. This space-saving design leaves more room         spot what you want. Plus, it emits less heat and is     Use it as a standard shelf, slide-in for more space
in the refrigerator.                                   more energy-efficient than conventional lighting.       or flip-up for even more storage space.
                                                       The sleek design saves more space than
                                                       traditional incandescent light bulbs.




                                                                                                               ENERGY STAR® Certified
                                                                                                               ENERGY STAR® certified products meet strict
                                                                                                               energy efficiency specifications set by the
EZ-Open™ Handle                                        LED Display with Water and Ice Dispenser
                                                                                                               government. This Samsung refrigerator not only
This specially designed handle allows for easy         An external, Ice Blue Digital Display allows you to     meets ENERGY STAR® requirements, it exceeds
opening and closing of a fully loaded freezer,         easily control settings at the touch of a button. The   them.
containing a filtered ice maker. The low-profile       Samsung Ice and Water dispenser provides a
handle design lifts up and glides out the drawer       uniquely-tall opening so pitchers and tall
effortlessly.                                          decorative glasses can be filled quickly and easily.
                                                       The external ice and water dispenser also serves
                                                       as a filter, ensuring that plenty of filtered water,
                                                       crushed ice and cubed ice is always on hand.




                                                       Get ready for delivery
                                                       Check to make sure your appliance will fit and that
                                                       your home is accessible for delivery.




Fingerprint resistant finish - Fingerprint
resistant
Helps reduce smudges for an everyday great
appearance
                                                                                                                                                          Help


    See More:     Interactive Tour     Warranty
      Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 8 of 32 Page ID #:45


Related Accessories

                                                                                                                                                                 




                                       1.8 cu. ft. Over-the-Range          HAF-CIN 2 Pack                  HAF-CIN 3 Pack                HAF-CIN Refrigerator Water
                                        Microwave with Sensor           Refrigerator Water Filter       Refrigerator Water Filter                 Filter
                                         Cooking in Fingerprint
                                       Resistant Stainless Steel




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            Amana - 24.5 Cu. Ft.             Whirlpool - 24.5 Cu. Ft.     Samsung - 27.4 Cu. Ft.        Samsung - 27 cu. ft.            Whirlpool - 25.2 Cu. Ft.
            Side-by-Side…                    4-Door French Door…          Side-by-Side…                 Large Capacity 3-Door…          French Door…
                         (442)                           (1,186)                      (675)                         (500)                           (1,166)


            $949.99                          $2,249.99                    $1,259.99                     $2,069.99                       $1,709.99
            $999.99                          $2,499.99                                                                                  $1,899.99

                      Add to Cart                    Add to Cart                  Add to Cart                  Add to Cart                      Add to Cart



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            GE - Pro ile™ Series 1.7         Samsung - 18" Compact        Water Filter for Select       Samsung - 36" Built-In          Samsung - 1.9 Cu. Ft.
            cu. ft. Convection…              Top Control Built-in…        Samsung Refrigerators…        Gas Cooktop with WiFi…          Countertop…
                         (155)                           (2)                          (344)                         (43)                            (57)


            $539.99                          $949.99                      $49.99                        $1,349.99                       $279.99


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Sponsored products from other sellers                                                                                                                              Help
  Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 9 of 32 Page ID #:46




Whirlpool                          Viking                            LG LFCS22520S
WRS315SNHM                         RVRF3361SS                        30" Energy Star
36" Side-by-Side                   36" French Door                   Freestanding
Refrigerator with                  Freestanding                      French Door
25.07 cu. ft. Total                Refrigerator with                 Refrigerator with
Capacity LED                       Bottom Freezer                    21.8 cu. ft.
Lighting                           Star-K Certified                  Capacity Ice
Spillproof Glass                   Sabbath Mode                      Maker Smart
Shelves and                        22.1 cu. ft. Total                Cooling System
Electronic                         Capacity                          2 Crisper
$1,164.10                          $3,559.00                         $1,695.00
Appliances Connect…     ▼   Ad     Appliances Connect…   ▼   Ad      Appliances Connect…   ▼   Ad




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                               French Door, Side-by-Side and More               Designer Grade Ovens & Microwaves
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                               Electric, Gas and Dual Fuel                      Popular Vent Hoods By Bosch
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                               Enterprise Solutions Available, Route Planner Available.




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Best Buy   Appliances   Dishwashers     Built-In Dishwashers



                                          Samsung
                                          Samsung - Samsung-StormWash™, 3rd Rack, 24" Top Control Fingerprint
                                          Resistant Built-In Dishwasher-Black Stainless Steel - Fingerprint Resistant Black
                                          Stainless Steel
                                          Model: DW80K7050UG SKU: 5326300
                                          This item is no longer available in new condition.
                                          See similar items below.
           See more images




Speci ications

Key Specs                                 Product Height                                                     35.87 inches


                                          Product Width                                                      23.87 inches


                                          Product Depth                                                      24 3/4 inches


                                          Sound-Reduction System                                             Yes


                                          Operating Sound Level                                              44 decibels


                                          Number Of Racks                                                    3


                                          Tub Finish                                                         Stainless steel


                                          App-Controlled                                                     No


                                          Color Finish                                                       Black stainless steel




General                                   Product Name                                                       Samsung-StormWash™, 3rd Rack, 24" Top Control
                                                                                                             Fingerprint Resistant Built-In Dishwasher-Black Stainless
                                                                                                             Steel


                                          Brand                                                              Samsung


                                          Model Number                                                       DW80K7050UG


                                          Color                                                              Fingerprint Resistant Black Stainless Steel


                                          Color Category                                                     Black


                                          Color Finish                                                       Black stainless steel




Dimension                                 Product Height                                                     35.87 inches


                                          Product Width                                                      23.87 inches
                                                                                                                                                                  Help

                                          Product Depth                                                      24 3/4 inches
   Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 12 of 32 Page ID #:49

                       Product Weight                     97 pounds




Cut-Out Dimensions     Cut-Out Height                     34 1/8 inches


                       Cut-Out Width                      24 inches


                       Cut-Out Depth                      24 inches




Features               Heated Drying                      No


                       Sound-Reduction System             Yes


                       Operating Sound Level              44 decibels


                       Delay Start                        Yes


                       End-Of-Cycle Signal                Yes


                       Cycle Status Lights                Yes


                       Control-Lock Option                Yes


                       Filtered Water                     Yes




Cycle Speci ications   Number of Cycles                   6


                       Dishwasher Cycles                  Auto, Normal, Heavy, Delicate, Express 60, Rinse Only


                       Options and Programs               Lower Rack, Storm Wash, Hi-Temp Wash, Sanitize, Delay
                                                          Start


                       Sensor Wash                        Yes


                       High-Temperature Wash              Yes


                       Steam Cleaning                     No


                       Steam Pre-Wash                     No


                       NSF-Certi ied Sanitization Cycle   Yes




Rack Features          Number Of Racks                    3


                       Third Rack Features                Utensil separator


                       Upper Rack Features                Adjustable height, Cup shelf, Rack handle, Removable,
                                                          Stemware holders


                       Lower Rack Features                Silverware basket


                       Rack Material                      Nylon




Design                 Dishwasher Type                    Built-in dishwashers


                       Tub Finish                         Stainless steel


                       Control Location                   Top control                                        Help
    Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 13 of 32 Page ID #:50
                                Control Type                       Capacitive touch


                                Handle Type                        Towel bar handle


                                Fingerprint Resistant              Yes


                                Place Setting Capacity             15


                                Interior Light(s)                  No


                                Number of Wash Arms                3




Included                        Power Cord Included                No


                                Integrated Water-Softener          No




Electrical Speci ication        Estimated Annual Electricity Use   239 kilowatt hours


                                Estimated Annual Operating Cost    29 United States dollars


                                Amperage                           15 amperes


                                Voltage                            120 volts


                                Wattage                            1100 watts




Certi ications Listings &       ENERGY STAR Certi ied              Yes

Approvals
                                ADA Compliant                      No


                                NSF Listed                         Yes




Warranty                        Manufacturer's Warranty - Parts    1 year; 5 Year Limited on Printed Circuit Board and Interior
                                                                   Nylon Racks, Lifetime Limited Warranty on Stainless Steel
                                                                   Door Liner and Tub for Leakage


                                Manufacturer's Warranty - Labor    1 Year




Other                           UPC                                887276166438




Reviews               (1,662)




Questions & Answers

 You recently viewed (1 Items)




                                                                                                                        Help
       Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 14 of 32 Page ID #:51




               Samsung - 22.5 cu. ft.
               Counter Depth French
               Door Fingerprint…
                             (771)


               $2,599.99


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  Products              Brands          Deals         Services                                  Account            Recently Viewed            Order Status          Saved Items




Best Buy   Appliances   Ranges, Cooktops & Ovens     Ranges    Gas Ranges                                                                                                Share     Print


Samsung                                                                                            $2,069.99                           Or
                                                                                                                                            $115.00/mo.*
Samsung - 5.8 Cu. Ft. Self-Cleaning Fingerprint Resistant Slide-                                                                            suggested payments with
                                                                                                                                            18-Month Financing
In Gas Convection Range - Black stainless steel                                                                                             Show me how >

Model: NX58K9500WG SKU: 4892503
                                                                                                               15-DAY SATISFACTION GUARANTEE
              4.7 (1,179 Reviews)                                                                              Our trained agents are available to help 7 days a week to help support
                                     238 Answered Questions
                                                                                                               your purchase. Learn more >




                                                                                                    Range Power Source:

                                                                                                         Gas


                                                                                                    Color: Black stainless steel




                                                                                                     $2,069.99             $1,979.99




                                                                                                               Protect your major appliance
                                                                                                                             (1,248)



                                                                                                                                                                               $199.99
                                                                                                               3-Year Standard Geek Squad Protection
                                                                                                                                                                        About $5.56/mo.

                                                                                                                                                                               $299.99
                                                                                                               5-Year Standard Geek Squad Protection
                                                                                                                                                                        About $5.00/mo.


                                                                                                               Learn more




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                                                                                                          Pickup: Unavailable within 250 miles of Miami Beach
                                                                                                          Update location

                                                                                                          Delivery: Unavailable in your area
                                                                                                          Estimates for 33101




                                                                                                                                  Unavailable Nearby

                                                                                                         Compare                Save




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                                                                                                                                  Schedule a Store Visit                      Help
      Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 16 of 32 Page ID #:53




                                                                                          Compare to other models

                                                                                           See how this model stacks up to others.
                                                                                           Compare models


                                                                                          Special Oﬀers
                                                                                          Save $50 on Total Tech Support
                                                                                          Free Delivery on Orders $399 and Up
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                                                           images                         Cardmember Oﬀers
                                                                                          18 Month Financing
                         Interactive Tour and documents
                                                                                          12 Month Financing

                                                                                          Get rewards




Key Specs                              See All Speci ications ›


Product Height                         37 3/16 inches

Product Width                          29 13/16 inches                                              37 3/16"
                                                                                                                                                       1:32

Product Depth                          26 3/8 inches                                                                   Gas Range: Delivery & Installation

Range Type                             Slide-In
                                                                    26 3/8"

Oven Convection                        Yes
                                                                                   29 13/16"

                                       Self-High Heat                           (Doors closed)
Oven Cleaning Method
                                       Cleaning

Single/Double Oven                     Single Oven
                                                                                                                       Delivery & Installation Requirements
Cooktop Surface Type                   Grate

Cooktop Surface Color                  Black

Number Of Burners                      5

App-Controlled                         No

Color Finish                           Black stainless steel




  People also viewed (15 Items)

                        Samsung - 6.0 cu. ft. Front                  Bosch - 800 Series 4.8 Cu.                      LG - SIGNATURE 6.9 Cu. Ft.
                        Control Slide-In Gas                         Ft. Self-Cleaning Slide-In                      Self-Cleaning Slide-In
                        Convection Range…                            Gas…                                            Double Oven Gas…
                                    (64)                                        (61)                                             (2)

                        $1,799.99                                    Clearance:                                      $3,499.99
                                                                     $1,034.99
                           Compare                                                                                         Compare
                                                                        Compare                                                                     Help
     Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 17 of 32 Page ID #:54




Overview


Speci ications

Key Specs              Product Height                     37 3/16 inches


                       Product Width                      29 13/16 inches


                       Product Depth                      26 3/8 inches


                       Range Type                         Slide-In


                       Oven Convection                    Yes


                       Oven Cleaning Method               Self-High Heat Cleaning


                       Single/Double Oven                 Single Oven


                       Cooktop Surface Type               Grate


                       Cooktop Surface Color              Black


                       Number Of Burners                  5


                       App-Controlled                     No


                       Color Finish                       Black stainless steel




General                Product Name                       5.8 Cu. Ft. Self-Cleaning Fingerprint Resistant Slide-In Gas
                                                          Convection Range


                       Brand                              Samsung


                       Model Number                       NX58K9500WG


                       Color                              Black stainless steel


                       Color Category                     Black


                       Color Finish                       Black stainless steel




Dimension              Product Height                     37 3/16 inches


                       Product Width                      29 13/16 inches


                       Product Depth                      26 3/8 inches


                       Standardized Width                 30 inches




Capacity               Oven Capacity                      5.8 cubic feet




Features               Range Type                         Slide-In
                                                                                                                Help

                       Downdraft Ventilation              No
     Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 18 of 32 Page ID #:55
                       Range Power Source                 Gas


                       Fingerprint Resistant              Yes


                       Control Type                       Touch


                       Oven Control Location              Front panel


                       Digital Display                    Yes


                       Clock Display                      Yes


                       Door/Child Lock                    Yes


                       Oven Light                         Yes


                       Propane (LP) Convertible           Yes




Function               Sabbath Mode                       Yes


                       Hidden Bake Element                Yes


                       Keep Warm Setting                  Yes


                       Variable Broil                     Yes


                       Timer                              Yes


                       Time Bake                          Yes




Oven Features          Oven Convection                    Yes


                       Convection Type                    True Convection


                       Oven Cleaning Method               Self-High Heat Cleaning


                       Single/Double Oven                 Single Oven


                       Broiler Location                   Oven


                       Number of Oven Racks               3


                       Number of Oven Rack Positions      7


                       Oven Window                        Yes




Cooktop Features       Cooktop Surface Type               Grate


                       Cooktop Surface Color              Black


                       Cooktop Surface Material           Stainless steel


                       Number Of Burners                  5


                       Sealed Burners                     Yes


                       Specialty Burner(s)                Dual Flame, Oval Center, Simmer


                       Grate Material                     Cast iron
                                                                                            Help
       Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 19 of 32 Page ID #:56
Burner Rating                             Burner 1 Rating                                                 18000 british thermal units


                                          Burner 2 Rating                                                 15000 british thermal units


                                          Burner 3 Rating                                                 5000 british thermal units


                                          Burner 4 Rating                                                 5000 british thermal units


                                          Burner 5 Rating                                                 9500 british thermal units


                                          Broiler Burner Rating                                           16000 british thermal units




Included                                  Power Cord Included                                             No


                                          Gas Connector Included                                          No


                                          Propane Conversion Kit Included                                 Yes




Warranty                                  Manufacturer's Warranty - Parts                                 1 year


                                          Manufacturer's Warranty - Labor                                 1 year




Other                                     UPC                                                             887276142890




Reviews                       (1,179)




Questions & Answers


From the Manufacturer

Product Features




Slide-in design                                         True convection                                            5 gas cooktop burners
Distinctive built-in design creates a cultivated look   A powerful convection fan that circulates heat,            Boil, melt or simmer with the quick flexibility of five
in the kitchen without the remodel.                     cooks food evenly and saves time.                          cooktop burners.




                                                                                                                                                                Help
       Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 20 of 32 Page ID #:57

Guiding light controls                                                                                     Warming drawer
Easy-to-use guided light controls make                                                                     Keep side dishes warm while you wait for the
programming temperature, time and cooking                                                                  main course to finish cooking.
functions simple.


                                                     Fingerprint resistant finish - Fingerprint
                                                     resistant
                                                     Helps reduce smudges for an everyday great
                                                     appearance




                                                     Get ready for delivery
                                                     Check to make sure your appliance will fit and that
                                                     your home is accessible for delivery.
Griddle
Use the griddle to cook breakfast foods, grill
sandwiches or sauté vegetables.



    See More:     Interactive Tour    Warranty



360° View




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                                                                                                                                                              Help
    Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 21 of 32 Page ID #:58



                                 2.1 cu. ft. Over The           2.1 cu. ft. Over The        2.1 cu. ft. Over The        2.1 cu. ft. Over the     1.7 cu. ft. Over The
                                 Range Microwave in             Range Microwave             Range Microwave             Range Microwave          Range Convection
                                Tuscan Stainless Steel                                                                                               Microwave




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           Samsung - 22.5 cu. ft.
           Counter Depth French…
                        (771)


           $2,599.99


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  People also bought (8 Items)




           Samsung - 2.1 Cu. Ft.            Whirlpool - 36"                  LG - 30" Convertible          LG - 36" Built-In Gas         LG - 30" Combination
           Over-the-Range…                  Convertible Range…               Range Hood -…                 Cooktop with…                 Double Electric…
                        (316)                            (19)                 Not yet reviewed                          (13)                       (88)


           $409.99                          $764.99                          $1,199.99                     $1,399.99                     $3,699.99


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   Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 22 of 32 Page ID #:59




           Samsung - 5.8 Cu. Ft.                     Samsung - 6.0 cu. ft.                  LG - 6.9 Cu. Ft. Self-              LG - 6.9 Cu. Ft. Self-        LG - 5.8 Cu. Ft.
           Freestanding Gas…                         Front Control Slide-In…                Cleaning Freestanding…              Cleaning Slide-In…            Freestanding Single…
                            (508)                                (64)                                   (204)                                   (188)                   (78)


           $899.99                                   $1,709.99                              $1,699.99                           $2,999.99                     $999.99
           $1,099.99

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                    Add to Cart
                                                                                                                                         Nearby                      Nearby



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  Ilve                              PROFESSIONAL                GE Profile Series                Viking                         RV Stove Gas
  UPN90FDMPVS                       48” STAINLESS               PGS950SEFSS                      RVGR33015BSS                   Range 21"
  36" Nostalgie                     STEEL 6.0                   6.8 cu. ft. Slide-               30" 3 Series Gas               Greystone Stove
  Series Dual Fuel                  CU.FT. 7 GAS                In Gas Range w/                  Range with 4 cu.               | Flair
  Natural Gas                       BURNER/ELECTRIC             Convection -                     ft. Oven 5                     Distribution,
  Range with 5                      OVEN RANGE                  Stainless Steel -                Permanently                    Silver/Black
  Sealed Brass                      By Zline                    Stainless steel -                Sealed Burners                 Combo
  Burners 3 cu. ft.                 $7,499.99                   Cooking                          Continuous                     $439.99
  Capacity True                                                 Appliances -                     Grates ProFlow
  Convection Oven                                               Ranges                           Convection
  with Brass                                                    $1,599.99                        Baffle and
                                                                Refurbished
  $3,749.00                                                                                      $3,899.00
  Appliances Connect…   ▼   Ad      Ace Home Goods   ▼   Ad     American Freight   ▼   Ad        Appliances Connect…   ▼   Ad   Flair Distribution   ▼   Ad




                                                                                                                                                                                     Help
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                                                French Door, Side-by-Side and More           Designer Grade Ovens & Microwaves
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                                                Bosch Ranges                                 Bosch Range Hoods
                                                Electric, Gas and Dual Fuel                  Popular Vent Hoods By Bosch
                                                Top Selling Bosch Ranges                     Find The Perfect Range Hood Today



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                                                Sears Outlet - Now American Freight - Shop Cooktops
                              ▼



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                                                Deeply Discounted Prices. Same-day Local Delivery. Types: Refrigerators & Freezers, Cooking
                                                Appliances.
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Samsung
Samsung - 30" Convertible Range Hood with WiFi - Fingerprint                                       $1,169.99                     Or
                                                                                                                                        $65.00/mo.*
                                                                                                                                        suggested payments with
Resistant Black Stainless Steel                                                                                                         18-Month Financing
                                                                                                                                        Show me how >
Model: NK30K7000WG/A2 SKU: 6111532

              4.3 (82 Reviews)                                                                              15-DAY SATISFACTION GUARANTEE
                                     15 Answered Questions
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                                                                                                            your purchase. Learn more >


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                                                                                                   Open-Box: from $444.99



                                                                                                    Color: Fingerprint Resistant Black Stainless Steel




                                                                                                        $1,169.99       $1,079.99




                                                                                                            Protect your major appliance
                                                                                                                           (1,248)



                                                                                                                                                                           $129.99
                                                                                                            3-Year Standard Geek Squad Protection
                                                                                                                                                                     About $3.61/mo.

                                                                                                                                                                           $199.99
                                                                                                            5-Year Standard Geek Squad Protection
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   Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 26 of 32 Page ID #:63




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 People also viewed (15 Items)

                     Samsung - 36"                                   Samsung - 36" Range                                Samsung - 30" Range
                     Convertible Range Hood -                        Hood with WiFi and                                 Hood with WiFi and
                     Black stainless steel                           Bluetooth - Fingerprint                            Bluetooth - Fingerprint
                               (5)                                   Resistant Black
                                                                                 (32) Stainless                         Resistant Black
                                                                                                                                    (47) Stainless
                                                                     Steel                                              Steel
                     $589.99                                         $1,259.99                                          $989.99

                        Compare                                          Compare                                           Compare




Overview

                               The Samsung Range Hood turns on with the cooktop to keep the kitchen air fresh. The hood fan and lights automatically start
Description                    when the burners turn on. The dishwasher-safe metal Ba le Filter keeps the air clean by iltering the grease and odor that are
                               drawn through the Hood. Monitor and control the vent and lights remotely from your smartphone.




                               Sync the fans and the lights with the cooktop automatically through Bluetooth
Features
                               The Hood was designed for being controlled from your smartphone
                               The 600 CFM Ventilation System can handle a cooking surface with a maximum heat output up to 60,000 BTUs
                               LED lights illuminate the cooktop and are brighter and more energy e icient than incandescent or halogen lights
                               The vent can handle any cooking style with three ventilating speeds or Boost settings
                               The range hood has a wall-mounted chimney style design
                               Digital Touch Controls - seamless, integrated and premium design that is easy to clean
                               This Range Hood has options for exterior or recirculating venting




                               Samsung 30" Range Hood
What's Included



                               User Manual (PDF)
Manuals & Guides
                               Product Datasheet/Brochure (PDF)

                                                                                                                                                     Help
   Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 27 of 32 Page ID #:64

Speci ications

Key Specs             Product Height                              25 2/5 inches


                      Product Width                               30 inches


                      Product Depth                               19 11/16 inches


                      Exhaust Vent Location                       Top


                      Vent Type                                   Convertible


                      Operating Sound Level                       74 decibels


                      Color Finish                                Black stainless steel




General               Product Name                                30" Convertible Range Hood with WiFi


                      Brand                                       Samsung


                      Model Number                                NK30K7000WG/A2


                      Color                                       Fingerprint Resistant Black Stainless Steel


                      Color Category                              Black


                      Color Finish                                Black stainless steel




Dimension             Product Height                              25 2/5 inches


                      Minimum Installation Height Above Cooktop   24 inches


                      Product Width                               30 inches


                      Product Depth                               19 11/16 inches


                      Product Weight                              44.1 pounds




Features              Exhaust Vent Location                       Top


                      Vent Type                                   Convertible


                      Mount Type                                  Wall


                      Fingerprint Resistant                       Yes


                      Number Of Fan Speeds                        3


                      Temperature Sensor                          No


                      Control Type                                Touch pad


                      Delay Shut-Oﬀ                               No


                      Auto Fan Shut-Oﬀ                            No

                                                                                                                Help
                      Remote Control                              No
    Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 28 of 32 Page ID #:65
                             Damper Included                   No


                             Integrated Light(s)               Yes


                             Number Of Lights                  2


                             Number of Light Levels            1


                             Bulb Type Required                LED


                             Bulb(s) Included                  Yes




Performance                  Operating Sound Level             74 decibels




Filter Info                  Filter Material                   Metal


                             Dishwasher-Safe Filter            Yes


                             Removable Grease Filter           Yes




Electrical Speci ication     Voltage                           120 volts




Certi ications Listings &    CSA Listed                        Yes

Approvals
                             UL Listed                         No




Warranty                     Manufacturer's Warranty - Parts   1 Year


                             Manufacturer's Warranty - Labor   1 Year




Other                        UPC                               887276245256




Reviews               (82)




Questions & Answers


Buying Options


From the Manufacturer

 Product Features




                                                                                   Help
    Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 29 of 32 Page ID #:66




Bluetooth connected                                  Wi-Fi connectivity
Bluetooth automatically syncs fans and lights        Monitor and control your cooktop hood from
with cooktop burners.                                anywhere.



                                                                                                      Powerful Ventilation
                                                                                                      Powerful 390 CFM1 ventilation circulates air to
                                                                                                      remove odors quickly.




Digital touch controls                                                                                LED lights
Seamless, integrated and premium design that                                                          With bright LED lights, you can see everything
is easy to clean.                                                                                     on the cooktop.




                                                     Fingerprint resistant finish - Fingerprint
                                                     resistant
                                                     Helps reduce smudges for an everyday great
                                                     appearance




ADA Compliant
The hood was designed for accessibility making
it very easy to control from your smartphone.



    See More:    Interactive Tour   Warranty



Related Accessories

                                                                                                                      Showing 1-6 of 10 Products            


                                                                                                                              




                                                                                                                                                   Help


                               Samsung Hood             Samsung Chimney            Samsung Hood         1.1 cu. ft. PowerGrill       2.1 cu. ft. Over-the-
       Case 8:21-cv-01757-JVS-DFM Document 1-1 Filed 10/22/21 Page 30 of 32 Page ID #:67
                                        Recirculation Kit           Hood Extension Kit          Replacement Charcoal      Countertop Microwave       Range Microwave wit
                                                                                                      Filter Kit          with Power Convection           PowerGrill in
                                                                                                                         in Black Stainless Steel     Fingerprint Resistant
                                                                                                                                                         Stainless Steel



1   600 CFM capable.




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               Samsung - Chimney               Samsung - 30"                 Samsung - 30" Built-In        Samsung - 30" Electric      Samsung - 30"
               Hood Extension Kit for          Microwave Combination         Gas Cooktop with WiFi         Cooktop with WiFi and       Microwave Combination
               Select 30" and…                 Wall Oven with Flex…          and Dual…                     Rapid Boil™ -…              Wall Oven with…
                          (6)                               (137)                        (57)                          (58)                         (143)


               $494.99                         $3,959.99                     $1,529.99                     $1,439.99                   $3,509.99


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               Samsung - 30" Range             GE - 36" Convertible          Dyson - V11 Outsize           Dyson - HP01 Pure Hot +     Dyson - V11 Animal
               Hood - Stainless steel          Range Hood - Stainless        Cordless Vacuum -             Cool 800 Sq. Ft Air         Cord-Free Vacuum -
                                               steel                         Red/Nickel                    Puri ier, Heater and        Purple/Nickel
                          (47)                              (10)                         (258)                          (884)                       (732)
                                                                                                           Fan…
               $899.99                         $599.99                       $699.99                       $399.99                     $499.99
                                                                             $799.99                       $499.99                     $599.99

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Ilve                               GE Profile Series                 Viking                         RV Stove Gas
UPN90FDMPVS                        PGS950SEFSS                       RVGR33015BSS                   Range 21"
36" Nostalgie                      6.8 cu. ft. Slide-                30" 3 Series Gas               Greystone Stove
Series Dual Fuel                   In Gas Range w/                   Range with 4 cu.               | Flair
Natural Gas                        Convection -                      ft. Oven 5                     Distribution,
Range with 5                       Stainless Steel -                 Permanently                    Silver/Black
Sealed Brass                       Stainless steel -                 Sealed Burners                 Combo
Burners 3 cu. ft.                  Cooking                           Continuous                     $439.99
Capacity True                      Appliances -                      Grates ProFlow
Convection Oven                    Ranges                            Convection
with Brass                         $1,599.99                         Baffle and
                                   Refurbished
$3,749.00                                                            $3,899.00
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                               Bosch Ranges                                     Bosch Range Hoods
                               Electric, Gas and Dual Fuel                      Popular Vent Hoods By Bosch
                               Top Selling Bosch Ranges                         Find The Perfect Range Hood Today



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